             Case 1:21-cr-00657-BAH Document 65 Filed 07/07/22 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

        v.                                             Case No. 21-cr-657 BAH

JAMES MAULT

   SUPPLEMENT TO DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

        Please find attached a character letter that was received after the filing of our sentence

memorandum.

                                                       Respectfully submitted,


                                                       /s/ Richard S. Stern
                                                       _________________________
                                                       RICHARD S. STERN
                                                       D.C. Bar No. 205377
                                                       932 Hungerford Drive #37A
                                                       Rockville, MD 20850
                                                       301-340-8000
                                                       Email: rssjrg@rcn.com
                                                       Attorney for Mr. Mault

                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have electronically served all counsel of record on July 7,
2022.


                                                       /s/ Richard S. Stern
                                                       _________________________
                                                       RICHARD S. STERN




                                                  1
